          Case 1:17-cr-00589-JKB Document 129 Filed 03/01/19 Page 1 of 6



       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                                 :
                                                         : 17-cr-589-JKB
                v.                                       :
                                                         :
FERMIN GOMEZ-JIMENEZ                                     :
                                                         :

                                   MOTION TO SEVER TRIAL

        Fermin Gomez-Jimenez, by and through undersigned counsel, respectfully moves this

Court, pursuant to Federal Rule of Criminal Procedure 14 to sever his trial from the

codefendants. In support of this motion, counsel states, based on information and belief, the

following:

        1. Mr. Gomez-Jimenez is charged by indictment on multiple charges with multiple

codefendants.

        2. Mr. Gomez-Jimenez submits that the presentation of evidence against the co-

defendants in a single trial will be prejudicial to his right to a fair trial.

        3. The government may offer evidence of statements made by the co-defendant to

government agents implicating Mr. Gomez-Jimenez. Should such a co-defendant not testify at

trial, Mr. Mr. Gomez-Jimenez would be denied his confrontation rights as provided by the Sixth

Amendment to the United States Constitution. See Cruz v. United States, 481 U.S. 186 (1987);

Bruton v. United States, 391 U.S. 123 (1968).

        4. Mr. Gomez-Jimenez was arrested on or about October 24, 2016. While the

indictment does not charge specific overt or substantive acts after that date, the conspiracy

charged includes activity through “at least in or about 2017” and indicates activities occurring

after Mr. Gomez-Jimenez’s arrest. The presentation of such activity after Mr. Gomez-Jimenez is
           Case 1:17-cr-00589-JKB Document 129 Filed 03/01/19 Page 2 of 6



arrested would not be admissible against him and introduction of it at a joint trial would

therefore be prejudicial.

        5. Mr. Gomez-Jimenez claims that the complexities which arise in the trial of multiple

defendants together with regard to the admissibility of different pieces of evidence against the

defendants individually is likely to result in prejudice to Mr. Mr. Gomez-Jimenez.

        6. Due to the varying levels of alleged involvement and different proof as to the

defendants, there is a prejudicial joinder herein.

        7. The inevitable pursuit of different trial strategies by defense counsel will deprive Mr.

Gomez-Jimenez of control over his defense.

        8. Mr. Gomez-Jimenez will likely be deprived of an opportunity to call any of the

co-defendants as a witness on his behalf because no co-defendant can be compelled to testify at

a joint trial.

        9. Conversely, should a co-defendant choose to testify, this might unduly influence the

jury against Mr. Gomez-Jimenez. If the jury were to accept the testimony of the co-defendant, it

might enhance the possibility that, notwithstanding instruction otherwise, the jury would draw a

negative inference if Mr. Gomez-Jimenez exercised his right not to testify on his own behalf.

Further, if the jury should reject the testimony of the testifying co-defendant, the lack of

credibility of that witness would similarly be reflected upon Mr. Gomez-Jimenez.

        10. A separate trial for Mr. Cruz-Flores will avoid the clear prejudice which will ensue

as set forth above. It will avoid the necessity of the Court making numerous instructions to the

jury with regard to the admissibility of evidence.
         Case 1:17-cr-00589-JKB Document 129 Filed 03/01/19 Page 3 of 6



       11. To warrant severance on the basis of antagonistic defenses, codefendants must

show that their defenses are irreconcilable and mutually exclusive. See United States v.

Sherlock, 962 F.2d 1349, 1363 (9th Cir. 1992). Or rather:

       [t]o be entitled to severance on the basis of mutually antagonistic defenses,
       a defendant must show that the core of the codefendant's defense is so
       irreconcilable with the core of his own defense that the acceptance of the
       codefendant's theory by the jury precludes acquittal of the defendant.

United States v. Throckmorton, 87 F.3d 1069, 1072 (9th Cir. 1996).

       12.    Under Rule 14, a severance should be granted where there:

       is a serious risk that a joint trial would compromise a specific trial right of
       one of the defendants, or prevent the jury from making a reliable judgment
       about guilt or innocence. Such a risk might occur when evidence that the
       jury should not consider against a defendant and that would not be
       admissible if a defendant were tried alone is admitted against a
       codefendant. For example, evidence of a codefendant's wrongdoing in some
       circumstances erroneously could lead a jury to conclude that a defendant
       was guilty. When many defendants are tried together in a complex case and
       they have markedly different degrees of culpability, this risk of prejudice is
       heightened. Evidence that is probative of a defendant's guilt but technically
       admissible only against a codefendant also might present a risk of
       prejudice.

Zafiro v. United States, 506 U.S. 534, 539, 113 S. Ct. 933, 938 (1993) (internal citations

omitted). In short: “[t]here must be such a stark contrast presented by the defenses that

the jury is presented with the proposition that to believe the core of one defense it must

disbelieve the core of the other.” United States v. Najjar, 300 F.3d 466, 474 (4th Cir.

2002). See also United States v. Echeles, 352 F.2d 892 (7th Cir. 1965). Our Circuit tells trial

courts that ““[i]f a substantial degree of prejudice springs from a joint trial, a severance is

mandated.” United States v. Shuford, 454 F.2d 772, 776 (4th Cir. 1971).
         Case 1:17-cr-00589-JKB Document 129 Filed 03/01/19 Page 4 of 6




       WHEREFORE, for the foregoing reasons as well as any additional reasons deemed

meritorious by the Court, counsel and Mr. Gomez-Jimenez request that the Court grant this

motion and sever his case for trial.

                                           Respectfully submitted,

                                           /s/ Jenifer Wicks
                                           _________________________
                                           JENIFER WICKS
                                           MD Federal Bar No. 15573

                                           Law Offices of Jenifer Wicks
                                           6909 Laurel Avenue Suite 5419
                                           Takoma Park MD 20913
                                           Telephone (240) 468-4892
                                           Facsimile (202) 478-0867
                                           Jenifer@JWicksLaw.com

                                           _____/s/___________________
                                           TERESA WHALEN
                                           MD Federal Bar No. 25245

                                           801 Wayne Avenue, Suite 400
                                           Silver Spring, Maryland 20910
                                           (301) 588-1980; (301) 728-2905
          Case 1:17-cr-00589-JKB Document 129 Filed 03/01/19 Page 5 of 6



                                  REQUEST FOR HEARING

        Pursuant to Rule 105.6 of the Local Rules of the United States District of Maryland, a

hearing is requested on the defendant’s motion.



                                              /s/ Jenifer Wicks
                                              _________________________
                                              JENIFER WICKS

                                 CERTIFICATE OF SERVICE

          I hereby certify that I will electronically file the foregoing with the Clerk of Court

using the CM/ECF system which will then send a notification of such filing to the other parties

in this matter.


                                              /s/ Jenifer Wicks
                                              _________________________
                                              JENIFER WICKS
        Case 1:17-cr-00589-JKB Document 129 Filed 03/01/19 Page 6 of 6



      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                       :
                                               : 17-cr-589-JKB
             v.                                :
                                               :
FERMIN GOMEZ-JIMENEZ                           :
                                               :


                                        ORDER

      Based upon the MOTION TO ADOPT, JOIN, AND CONFORM TO MOTIONS,

OBJECTIONS, OR OTHER APPLICATIONS FOR RELIEF FILED AND RAISED BY

CODEFENDANTS, the record herein and for good cause shown, it is this ______day of

___________________ 2019 hereby

      ORDERED that the motion is GRANTED.



                                               Chief Judge James K. Bredar
